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 1   COLIN REARDON (NY Bar #4945655)
     E-mail: colin.reardon@cfpb.gov
 2   Phone: (202) 435-9668
     E. VANESSA ASSAE-BILLE (NY Bar #5165501)
 3   E-mail: elisabeth.assae-bille@cfpb.gov
     Phone: (202) 435-7688
 4   1700 G Street, NW
     Washington, D.C. 20552
 5   Fax: (202) 435-5471
 6   LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
     E-mail: leanne.hartmann@cfpb.gov
 7   Phone: (415) 844-9787
     301 Howard St., Suite 1200
 8   San Francisco, CA 94105
     Fax: (415) 844-9788
 9
     Attorneys for Plaintiff Bureau of Consumer Financial Protection
10
11                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
12
13   Bureau of Consumer Financial Protection, )
                                              )              Case No.: 8-20-cv-00043-JVS-ADS
14                    Plaintiff,              )
                                              )              APPLICATION FOR CLERK TO
15               vs.                          )              ENTER DEFAULT AGAINST
                                              )              DEFENDANTS WHO FAILED TO
16   Chou Team Realty, LLC, et al.,           )              APPEAR
                                              )
17                    Defendants.             )
                                              )
18                                            )
19
20         Plaintiff Bureau of Consumer Financial Protection (“Bureau”) requests
21   that the Clerk of Court enter default against the following Defendants under
22   Federal Rule of Civil Procedure 55(a), on the ground that they have each failed
23   to timely appear, answer, or otherwise defend this action:
24         1. Docu Prep Center, Inc., d/b/a DocuPrep Center, d/b/a Certified
25            Document Center;
26         2. Document Preparation Services, LP, d/b/a DocuPrep Center, d/b/a
27            Certified Document Center;
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               APPLICATION FOR CLERK TO ENTER DEFAULT AGAINST DEFENDANTS WHO FAILED TO APPEAR
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 1         3. Certified Doc Prep Services, LP;
 2         4. Direct Document Solutions, Inc.;
 3         5. Direct Document Solutions, LP;
 4         6. Secure Preparation Services, Inc.;
 5         7. Secure Preparation Services, LP; and
 6         8. Bilal Abdelfattah, a/k/a Belal Abdelfattah, a/k/a Bill Abdel.
 7   Plaintiff served the summons and Complaint upon, or requested and received
 8   waivers of service from, each of these Defendants between January 16, 2020,
 9   and February 6, 2020, as evidenced by the proofs and waivers of service on file
10   with this Court. None of these Defendants have answered, moved to dismiss, or
11   otherwise appeared in this action, and the time within which they may appear
12   has expired.
13         The above-stated facts are set forth in the accompanying declaration of
14   Colin Reardon.
15
16   Dated: April 9, 2020                          Respectfully Submitted,
17                                                 /s/ Colin Reardon
                                                   Leanne E. Hartmann
18                                                 Colin Reardon (pro hac vice)
                                                   E. Vanessa Assae-Bille (pro hac vice)
19                                                 Bureau of Consumer Financial Protection
                                                   1700 G Street, NW
20                                                 Washington, D.C. 20552
21                                                 Attorneys for Plaintiff Bureau of
                                                   Consumer Financial Protection
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               APPLICATION FOR CLERK TO ENTER DEFAULT AGAINST DEFENDANTS WHO FAILED TO APPEAR
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